  Case 23-30013              Doc 43       Filed 01/20/23 Entered 01/20/23 09:47:42       Desc Main
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     FILED & JUDGMENT ENTERED
            Steven T. Salata


              January 20 2023


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                           _____________________________
                                                                                    J. Craig Whitley
                                                                             United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

  In re:                                             )        Chapter 11
                                                     )
  B GSE GROUP, LLC,                                  )        Case No. 23-30013
                                                     )
                                Debtor.              )

              EX PARTE ORDER GRANTING DEBTOR AN EXTENSION OF
           TIME WITHIN WHICH TO FILE (I) ALL SCHEDULES OF ASSETS AND
              LIABILITES AND (II) STATEMENT OF FINANCIAL AFFAIRS

           Upon consideration of the motion (the “Motion”) of the above-captioned debtor and

debtor in possession (the “Debtor”), seeking entry of an order extending the fourteen-day period

within which the Debtor must file its (i) schedules of assets and liabilities, and (ii) statement of

financial affairs (collectively, the “Schedules”), through and including February 3, 2023 pursuant

to Rule 1007(c) of the Federal Rules of Bankruptcy Procedure; and the Court having considered

the submissions of counsel in support of the Motion; and it appearing that the Court has

jurisdiction over the Motion pursuant to 28 U.S.C. § 157(b)(2); and the Court having determined

that granting the relief requested in the Motion is in the best interest of the Debtor, its estate,

creditors, and other parties in interest; and it appearing that due and adequate notice of the

Motion has been given; and for good cause shown, it is hereby:




MWH: 10782.001; 00028103.1
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         ORDERED, that the time in which the Debtor must file its Schedules is hereby extended

through and including February 3, 2023 without prejudice to the Debtor’s right to seek additional

extensions, if necessary; and it is further

         ORDERED, that the Debtor shall take all reasonable measures to file the Schedules by

the extended deadline established in this Order; and it is further

         ORDERED, that this Court shall retain jurisdiction over any and all issues arising from or

related to the implementation and interpretation of this Order.




This Order has been signed electronically.                              United States Bankruptcy Court
The Judge's signature and Court's seal
appear at the top of this Order.




MWH: 10782.001; 00028103.1                        2
